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       UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF
                 CALIFORNIA (Eastern Division − Riverside)
            CIVIL DOCKET FOR CASE #: 5:17−cv−00477−JGB−SP

Karen Wooten et al v. Monsanto Company, et al                 Date Filed: 03/14/2017
Assigned to: Judge Jesus G. Bernal                            Jury Demand: Plaintiff
Referred to: Magistrate Judge Sheri Pym                       Nature of Suit: 365 Personal Inj. Prod.
Cause: 28:1332 Diversity−Product Liability                    Liability
                                                              Jurisdiction: Diversity
Plaintiff
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                                                               ATTORNEY TO BE NOTICED
                                                              Leland H. Belew
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED
                                                              Lori Erin Andrus
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

Plaintiff
Timothy Wooten                                  represented by Jennie Lee Anderson
individually and on behalf of the Estate of                    (See above for address)
Harley Wooten, deceased                                        ATTORNEY TO BE NOTICED
                                                              Leland H. Belew
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED
                                                              Lori Erin Andrus
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                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
Monsanto Company

Defendant
Does
1−50


Date Filed    #   Docket Text
03/14/2017    1 COMPLAINT Receipt No: 0973−19515457 − Fee: $400, filed by Plaintiff Karen
                Wooten, Timothy Wooten, Harley Wooten, III. (Attachments: # 1 Civil Cover Sheet, #
                2 Proposed Summons, # 3 Notice of Interested Parties, # 4 Notice of Related Cases)
                (Attorney Lori Erin Andrus added to party Harley Wooten, III(pty:pla), Attorney Lori
                Erin Andrus added to party Karen Wooten(pty:pla), Attorney Lori Erin Andrus added
                to party Timothy Wooten(pty:pla))(Andrus, Lori) (Entered: 03/14/2017)
03/14/2017    2 COMPLAINT with filing fee previously paid ($400.00 paid on 03/14/2017, receipt
                number 261938M8), filed by Plaintiff Karen Wooten, Timothy Wooten, Harley
                Wooten, III.(Andrus, Lori) (Entered: 03/14/2017)
03/14/2017    3 NOTICE of Related Case(s) filed by plaintiffs Harley Wooten, III, Karen Wooten,
                Timothy Wooten. Related Case(s): 2:16−cv−7386 DMG (Ex); 8:16−cv−01410 DMG
                (Ex) ***DOCKETED BY CLERK*** (esa) (Entered: 03/15/2017)
03/15/2017    4 NOTICE OF ASSIGNMENT to District Judge Jesus G. Bernal and Magistrate Judge
                Sheri Pym. (esa) (Entered: 03/15/2017)
03/15/2017    5 NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM filed. (esa)
                (Entered: 03/15/2017)
03/15/2017    6 21 DAY Summons issued re Complaint, 1 as to defendant Monsanto Company. (esa)
                (Entered: 03/15/2017)
03/15/2017    7 NOTICE OF DEFICIENCIES in Attorney Case Opening. The following error(s) was
                found: Other error(s) with document(s): Civil Cover Sheet, Notice of Interested
                Parties, Notice of Related Cases, and Summons Request are attached to the Complaint.
                Each of these documents should have been filed and entered separately under its
                proper event. (esa) (Entered: 03/15/2017)
03/15/2017    8 NOTICE OF PRO HAC VICE APPLICATION DUE for Non−Resident Attorney
                Yvonne M. Flaherty. A document recently filed in this case lists you as an
                out−of−state attorney of record. However, the Court has not been able to locate any
                record that you are admitted to the Bar of this Court, and you have not filed an
                application to appear Pro Hac Vice in this case. Accordingly, within 5 business days of
                the date of this notice, you must either (1) have your local counsel file an application
                to appear Pro Hac Vice (Form G−64) and pay the applicable fee, or (2) complete the
                next section of this form and return it to the court at cacd_attyadm@cacd.uscourts.gov.
                You have been removed as counsel of record from the docket in this case, and you will
                not be added back to the docket until your Pro Hac Vice status has been resolved. (esa)
                (Entered: 03/15/2017)
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                           UNITED STATES DISTRICT COURT
16
17                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

18   KAREN WOOTEN, HARLEY                             Case No.: 5:17-cv-00477
19   WOOTEN III, and TIMOTHY
     WOOTEN, individually and on behalf of            CORRECTED COMPLAINT
20   the Estate of HARLEY WOOTEN,
21   Deceased;,                                       JURY TRIAL DEMANDED
22                       Plaintiffs,
23
           vs.
24
25   MONSANTO COMPANY and DOES 1-
     50,
26
27                       Defendants.
28
                                               1
                                       CORRECTED COMPLAINT
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 1         Plaintiffs Karen Wooten, Harley Wooten III, and Timothy Wooten,
 2   individually and on behalf of the Estate of Harley Wooten, deceased (collectively
 3   herein “Plaintiffs”), by and through their undersigned counsel, hereby bring this
 4   Complaint for damages and wrongful death against Defendants Monsanto Company
 5   and Does 1-50 and allege the following:
 6                                    NATURE OF THE CASE
 7         1.        This is an action for damages suffered by Plaintiffs as a direct and
 8   proximate result of Defendants’ negligent and wrongful conduct in connection with
 9   the design, development, manufacture, testing, packaging, promoting, marketing,
10   advertising, distribution, labeling, and/or sale of the herbicide Roundup®, containing
11   the active ingredient glyphosate.
12         2.        Plaintiffs maintain that Roundup® and/or glyphosate is defective,
13   dangerous to human health, unfit and unsuitable to be marketed and sold in
14   commerce, and lacked proper warnings and directions as to the dangers associated
15   with its use.
16         3.        Plaintiffs’ injuries, like those striking thousands of similarly situated
17   victims across the country, were avoidable.
18                                 JURISDICTION AND VENUE
19         4.        This Court has jurisdiction over Defendants and this action pursuant to
20   28 U.S.C. § 1332 because there is complete diversity of citizenship between Plaintiffs
21   and Defendants. Defendants are all either incorporated and/or have their principal
22   place of business outside of the state in which the Plaintiffs reside.
23         5.        The amount in controversy between Plaintiffs and Defendants exceeds
24   $75,000, exclusive of interest and cost.
25         6.        The Court also has supplemental jurisdiction pursuant to 28 U.S.C.
26   § 1367.
27         7.        Venue is proper within this district pursuant to 28 U.S.C. § 1391 in that
28   Defendants conduct business here and are subject to personal jurisdiction in this
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 1   district. Furthermore, Defendants sell, market, and/or distribute Roundup® within the
 2   Central District of California. Also, a substantial part of the acts and/or omissions
 3   giving rise to these claims occurred within this district.
 4                                          PARTIES
 5         8.     Decedent, Harley Wooten (hereinafter “Decedent”), was a natural
 6   person and at all relevant times a resident and citizen of Riverside County, California.
 7         9.     Plaintiff Karen Wooten is the Decedent’s surviving spouse. Plaintiff
 8   Harley Wooten III and Timothy Wooten are the Decedent’s only children. Plaintiffs
 9   Karen Wooten, Harley Wooten III and Timothy Wooten are the surviving heirs of
10   Harley Wooten, deceased. Plaintiff Karen Wooten was at all relevant times a resident
11   and citizen of Riverside County, California. Plaintiff Harley Wooten III was at all
12   relevant times a resident and citizen of Yuba County, California. Plaintiff Timothy
13   Wooten was at all relevant times a resident and citizen of Riverside County,
14   California. Plaintiffs bring this action for injuries and Decedent’s wrongful death
15   sustained by exposure to Roundup® (“Roundup”) containing the active ingredient
16   glyphosate and the surfactant POEA. As a direct and proximate result of being
17   exposed to Roundup, Decedent developed non-Hodgkin’s lymphoma (“NHL”) and
18   died as a result thereof on November 21, 2014.
19         10.    “Roundup” refers to all formulations of Defendants’ roundup products,
20   including, but not limited to, Roundup Concentrate Poison Ivy and Tough Brush
21   Killer 1, Roundup Custom Herbicide, Roundup D-Pak herbicide, Roundup Dry
22   Concentrate, Roundup Export Herbicide, Roundup Fence & Hard Edger 1, Roundup
23   Garden Foam Weed & Grass Killer, Roundup Grass and Weed Killer, Roundup
24   Herbicide, Roundup Original 2k herbicide, Roundup Original II Herbicide, Roundup
25   Pro Concentrate, Roundup Prodry Herbicide, Roundup Promax, Roundup Quik Stik
26   Grass and Weed Killer, Roundup Quikpro Herbicide, Roundup Rainfast Concentrate
27   Weed & Grass Killer, Roundup Rainfast Super Concentrate Weed & Grass Killer,
28   Roundup Ready-to-Use Extended Control Weed & Grass Killer 1 Plus Weed
                                                 3
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 1   Preventer, Roundup Ready-to-Use Weed & Grass Killer, Roundup Ready-to-Use
 2   Weed and Grass Killer 2, Roundup Ultra Dry, Roundup Ultra Herbicide, Roundup
 3   Ultramax, Roundup VM Herbicide, Roundup Weed & Grass Killer Concentrate,
 4   Roundup Weed & Grass Killer Concentrate Plus, Roundup Weed & Grass killer
 5   Ready-to-Use Plus, Roundup Weed & Grass Killer Super Concentrate, Roundup
 6   Weed & Grass Killer1 Ready-to-Use, Roundup WSD Water Soluble Dry Herbicide
 7   Deploy Dry Herbicide, or any other formulation of containing the active ingredient
 8   glyphosate.
 9         11.     Defendant Monsanto Company (“Monsanto”) is incorporated in the state
10   of Delaware, with a principal place of business in St. Louis, Missouri.
11         12.     Upon best information and belief, Defendants Does 1-50 are
12   subsidiaries, partners, or other entities that were involved in the design, development,
13   manufacture, testing, packaging, promoting, marketing, advertising, distribution,
14   labeling, and/or sale of the herbicide Roundup, containing the active ingredient
15   glyphosate. The identities of Does 1-50 are unknown to Plaintiffs at this time.
16   Plaintiffs will move the Court to specifically name Does 1-50 as their identities
17   become known to Plaintiffs through discovery.
18         13.     Defendants Monsanto Company and Does 1-50 are collectively referred
19   to as “Monsanto Defendants” or “Defendants.”
20         14.     Defendants advertise and sell goods, specifically Roundup, in Riverside,
21   California.
22         15.     Defendants transacted and conducted business within the State of
23   California that relates to the allegations in this Complaint.
24         16.     Defendants derived substantial revenue from goods and products used in
25   the State of California.
26         17.     Defendants expected or should have expected their acts to have
27   consequences within the State of California, and derived substantial revenue from
28   interstate commerce.
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 1         18.    Defendants engaged in the business of designing, developing,
 2   manufacturing, testing, packaging, marketing, distributing, labeling, and/or selling
 3   Roundup.
 4         19.    Defendants are authorized to do business in the State of California and
 5   derive substantial income from doing business in this state.
 6         20.    Defendants purposefully availed themselves of the privilege of
 7   conducting activities with the State of California, thus invoking the benefits and
 8   protections of its laws.
 9         21.    Defendants did act to design, sell, advertise, manufacture and/or
10   distribute Roundup, with full knowledge of its dangerous and defective nature.
11                               FACTUAL ALLEGATIONS
12         22.    At all relevant times, Defendants were in the business of, and did,
13   design, research, manufacture, test, advertise, promote, market, sell, distribute, and/or
14   have acquired and was responsible for Defendants who have designed, researched,
15   manufactured, tested, advertised, promoted, marketed, sold, and distributed the
16   commercial herbicide Roundup.
17         23.    Monsanto is a multinational agricultural biotechnology corporation
18   based in St. Louis, Missouri. It is the world’s leading producer of glyphosate.
19         24.    Defendants discovered the herbicidal properties of glyphosate during the
20   1970s and subsequently began to design, research, manufacture, sell and distribute
21   glyphosate based “Roundup” as a broad spectrum herbicide.
22         25.    Glyphosate is the active ingredient in Roundup.
23         26.    Glyphosate is a broad-spectrum herbicide used to kill weeds and grasses
24   known to compete with commercial crops grown around the globe.
25         27.    Glyphosate is a “non-selective” herbicide, meaning it kills
26   indiscriminately based only on whether a given organism produces a specific
27   enzyme, 5-enolpyruvylshikimic acid-3-phosphate synthase, known as EPSP synthase.
28
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 1           28.   Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-phosphate
 2   synthase that interferes with the shikimic pathway in plants, resulting in the
 3   accumulation of shikimic acid in plant tissue and ultimately plant death.
 4           29.   Sprayed as a liquid, plants absorb glyphosate directly through their
 5   leaves, stems, and roots, and detectable quantities accumulate in the plant tissues.
 6           30.   Each year, approximately 250 million pounds of glyphosate are sprayed
 7   on crops, commercial nurseries, suburban lawns, parks, and golf courses. This
 8   increase in use has been driven largely by the proliferation of genetically engineered
 9   crops, crops specifically tailored to resist the activity of glyphosate.
10   31.     Defendants are intimately involved in the development, design, manufacture,
11   marketing, sale, and/or distribution of genetically modified (“GMO”) crops, many of
12   which are marketed as being resistant to Roundup i.e., “Roundup Ready®.” As of
13   2009, Defendants were the world’s leading producer of seeds designed to be
14   Roundup Ready®. In 2010, an estimated 70% of corn and cotton, and 90% of
15   soybean fields in the United States contained Roundup Ready® seeds.
16           32.   The original Roundup, containing the active ingredient glyphosate, was
17   introduced in 1974. Today, glyphosate products are among the world’s most widely
18   used herbicides.1
19           33.   For nearly 40 years, consumers, farmers, and the public have used
20   Roundup, unaware of its carcinogenic properties.
21             REGISTRATION OF HERBICIDES UNDER FEDERAL LAW
22           34.   The manufacture, formulation and distribution of herbicides, such as
23   Roundup, are regulated under the Federal Insecticide, Fungicide, and Rodenticide
24   Act (“FIFRA”), 7. U.S.C. § 136 et seq. FIFRA requires that all pesticides be
25   registered with the Environmental Protection Agency (“EPA) prior to their
26   distribution, sale, or use, except as described by FIFRA 7 U.S.C. § 136a(a).
27   1   Backgrounder, History of Monsanto’s Glyphosate Herbicides, June 2005.
28
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 1         35.    The EPA requires as part of the registration process, among other
 2   requirements, a variety of tests to evaluate the potential for exposure to pesticides,
 3   toxicity to people and other potential non-target organisms, and other adverse effects
 4   on the environment. Registration by the EPA, however, is not an assurance or finding
 5   of safety. The determination the EPA makes in registering or re-registering a product
 6   is not that the product is “safe,” but rather that use of the product in accordance with
 7   its label directions “will not generally cause unreasonable adverse effects on the
 8   environment.” 7 U.S.C. § 136(a)(c)(5)(D).
 9         36.    FIFRA defines “unreasonable adverse effects on the environment” to
10   mean “any unreasonable risk to man or the environment, taking into account the
11   economic, social, and environmental costs and benefits of the use of any pesticide.”
12   7 U.S.C. § 136(bb). FIFRA thus requires the EPA to make a risk/benefit analysis in
13   determining whether a registration should be granted or allowed to continue to be
14   sold in commerce.
15         37.    The EPA and the State of California registered Roundup for distribution,
16   sale, and manufacture in the United States and the State of California.
17         38.    FIFRA generally requires that the registrant, Monsanto, conduct health
18   and safety testing of pesticide products. The government is not required, nor is it
19   able, to perform the product tests that are required of the manufacturer.
20         39.    The evaluation of each pesticide product distributed, sold, or
21   manufactured is completed at the time the product is initially registered. The data
22   necessary for registration of a pesticide has changed over time. The EPA is now in
23   the process of re-evaluating all pesticide products through a Congressionally-
24   mandated process called “re-registration.” 7 U.S.C. § 136a-1. In order to reevaluate
25   these pesticides, the EPA demands the completion of additional tests and the
26   submission of data for the EPA’s review and evaluation.
27         40.    In the case of glyphosate and Roundup, the EPA had planned on
28   releasing its preliminary risk assessment—in relation to the registration process—no
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 1   later than July 2015. The EPA completed its review of glyphosate in early 2015, but
 2   delayed releasing the assessment pending further review in light of the World Health
 3   Organization’s findings.
 4                    MONSANTO’S FALSE REPRESENTATIONS
                      REGARDING THE SAFETY OF ROUNDUP®
 5
 6         41.    In 1996, the New York Attorney General (“NYAG”) filed a lawsuit
 7   against Monsanto based on its false and misleading advertising of Roundup products.
 8   Specifically, the lawsuit challenged Monsanto’s general representations that its
 9   spray-on glyphosate-based herbicides, including Roundup, were “safer than table
10   salt” and "practically non-toxic" to mammals, birds, and fish. Among the
11   representations the NYAG found deceptive and misleading about the human and
12   environmental safety of Roundup are the following:
13                a) Remember that environmentally friendly Roundup herbicide
14                   is biodegradable. It won't build up in the soil so you can use
15                   Roundup with confidence along customers' driveways,
16                   sidewalks and fences ...
17                b) And remember that Roundup is biodegradable and won't
18                   build up in the soil. That will give you the environmental
19                   confidence you need to use Roundup everywhere you've got
20                   a weed, brush, edging or trimming problem.
21                c) Roundup biodegrades into naturally occurring elements.
22                d) Remember that versatile Roundup herbicide stays where you
23                   put it. That means there's no washing or leaching to harm
24                   customers' shrubs or other desirable vegetation.
25                e) This non-residual herbicide will not wash or leach in the
26                   soil. It ... stays where you apply it.
27                f) You can apply Accord with “confidence because it will stay
28                   where you put it” it bonds tightly to soil particles, preventing
                                                  8
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 1                    leaching. Then, soon after application, soil microorganisms
 2                    biodegrade Accord into natural products.
 3                 g) Glyphosate is less toxic to rats than table salt following
 4                    acute oral ingestion.
 5                 h) h) Glyphosate's safety margin is much greater than required.
 6                    It has over a 1,000-fold safety margin in food and over a
 7                    700-fold safety margin for workers who manufacture it or
 8                    use it.
 9                 i) You can feel good about using herbicides by Monsanto.
10                    They carry a toxicity category rating of 'practically non-
11                    toxic' as it pertains to mammals, birds and fish.
12                 j) “Roundup can be used where kids and pets will play and
13                    breaks down into natural material.” This ad depicts a person
14                    with his head in the ground and a pet dog standing in an area
15                    which has been treated with Roundup.2
16          42.    On November 19, 1996, Monsanto entered into an Assurance of
17   Discontinuance with NYAG, in which Monsanto agreed, among other things, “to
18   cease and desist from publishing or broadcasting any advertisements [in New York]
19   that represent, directly or by implication” that:
20                 a) its glyphosate-containing pesticide products or any
21                    component thereof are safe, non-toxic, harmless or free from
22                    risk.
23                                            ***
24   //
25   //
26
     2 Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance of
27
     Discontinuance Pursuant to Executive Law § 63(15) (Nov. 1996).
28
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 1                b) its glyphosate-containing pesticide products or any
 2                   component thereof manufactured, formulated, distributed or
 3                   sold by Monsanto are biodegradable
 4                                        ***
 5                c) its glyphosate-containing pesticide products or any
 6                   component thereof stay where they are applied under all
 7                   circumstances and will not move through the environment
 8                   by any means.
 9                                        ***
10                d) its glyphosate-containing pesticide products or any
11                   component thereof are "good" for the environment or are
12                   "known for their environmental characteristics."
13                                        ***
14                e) glyphosate-containing pesticide products or any component
15                   thereof are safer or less toxic than common consumer
16                   products other than herbicides;
17                f) its glyphosate-containing products or any component thereof
18                   might be classified as "practically non-toxic.
19          43.   Monsanto did not alter its advertising in the same manner in any state
20   other than New York, and on information and belief still has not done so today.
21          44.   In 2009, France’s highest court ruled that Monsanto had not told the
22   truth about the safety of Roundup. The French court affirmed an earlier judgment that
23   //
24   //
25   //
26   //
27   //
28   //
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 1   Monsanto had falsely advertised its herbicide Roundup as “biodegradable” and that it
 2   “left the soil clean.”3
 3                 EVIDENCE OF CARCINOGENICITY IN ROUNDUP
 4          45.    As early as the 1980s Monsanto was aware of glyphosate’s carcinogenic
 5   properties.
 6          46.    On March 4, 1985, a group of the Environmental Protection Agency’s
 7   (“EPA”) Toxicology Branch published a memorandum classifying glyphosate as a
 8   Category C oncogene.4 Category C oncogenes are possible human carcinogens with
 9   limited evidence of carcinogenicity.
10          47.    In 1986, the EPA issued a Registration Standard for glyphosate (NTIS
11   PB87-103214). The Registration standard required additional phytotoxicity,
12   environmental fate, toxicology, product chemistry, and residue chemistry studies. All
13   of the data required was submitted and reviewed and/or waived.5
14          48.    In October 1991 the EPA published a Memorandum entitled “Second
15   Peer Review of Glyphosate.” The memorandum changed glyphosate’s classification
16   to Group E (evidence of non-carcinogenicity for humans). Two peer review
17   committee members did not concur with the conclusions of the committee and one
18   member refused to sign.6
19          49.    In addition to the toxicity of the active molecule, many studies support
20   the hypothesis that glyphosate formulations found in Defendants’ Roundup products
21
22
23   3 Monsanto Guilty in ‘False Ad’ Row, BBC, Oct. 15, 2009, available at
24   http://news.bbc.co.uk/2/hi/europe/8308903.stm.
     4 Consensus Review of Glyphosate, Casewell No. 661A. March 4, 1985. United
25
     States Environmental Protection Agency.
26   5 http://www.epa.gov/oppsrrd1/reregistration/REDs/factsheets/0178fact.pdf

     6 Second Peer Review of Glyphosate, CAS No. 1071-83-6. October 30, 1881. United
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     States Environmental Protection Agency.
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 1   are more dangerous and toxic than glyphosate alone.7 As early as 1991 evidence
 2   existed demonstrating that glyphosate formulations were significantly more toxic
 3   than glyphosate alone.8
 4          50.   In 2002, Julie Marc published a study entitled “Pesticide Roundup
 5   Provokes Cell Division Dysfunction at the Level of CDK1/Cyclin B Activation.”
 6          51.   The study found that Defendants’ Roundup caused delays in the cell
 7   cycles of sea urchins, while the same concentrations of glyphosate alone proved
 8   ineffective and did not alter cell cycles.
 9          52.   In 2004, Julie Marc published a study entitled “Glyphosate-based
10   pesticides affect cell cycle regulation.” The study demonstrated a molecular link
11   between glyphosate-based products and cell cycle dysregulation.
12          53.   The study noted that “cell-cycle dysregulation is a hallmark of tumor
13   cells and human cancer. Failure in the cell-cycle checkpoints leads to genomic
14   instability and subsequent development of cancers from the initial affected cell.”
15   Further, “[s]ince cell cycle disorders such as cancer result from dysfunction of unique
16   cell, it was of interest to evaluate the threshold dose of glyphosate affecting cells.”9
17          54.   In 2005, Francisco Peixoto published a study showing that Roundup’s
18   effects on rat liver mitochondria are much more toxic and harmful than the same
19   concentrations of glyphosate alone.
20          55.   The Peixoto study suggested that the harmful effects of Roundup on
21   mitochondrial bioenergetics could not be exclusively attributed to glyphosate and
22   could be the result of other chemicals, namely the surfactant POEA, or alternatively
23   due to the possible synergy between glyphosate and Roundup formulation products.
24
25   7 Martinez et al. 2007; Benachour 2009; Gasnier et al. 2010; Peixoto 2005; Marc
26   2004
     8 Martinez et al 1991
27   9 (Molinari, 2000; Stewart et al., 2003)

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 1          56.   In 2009, Nora Benachour and Gilles-Eric Seralini published a study
 2   examining the effects of Roundup and glyphosate on human umbilical, embryonic,
 3   and placental cells.
 4          57.   The study used dilution levels of Roundup and glyphosate far below
 5   agricultural recommendations, corresponding with low levels of residues in food. The
 6   study concluded that supposed “inert” ingredients, and possibly POEA, change
 7   human cell permeability and amplify toxicity of glyphosate alone. The study further
 8   suggested that determinations of glyphosate toxicity should take into account the
 9   presence of adjuvants, or those chemicals used in the formulation of the complete
10   pesticide. The study confirmed that the adjuvants in Roundup are not inert and that
11   Roundup is always more toxic than its active ingredient glyphosate.
12          58.   The results of these studies were confirmed in recently published peer-
13   reviewed studies and were at all times available and/or known to Defendants.
14          59.   Defendants knew or should have known that Roundup is more toxic than
15   glyphosate alone and that safety studies on Roundup, Roundup’s adjuvants and
16   “inert” ingredients, and/or the surfactant POEA were necessary to protect Plaintiff
17   from Roundup.
18          60.   Defendants knew or should have known that tests limited to Roundup’s
19   active ingredient glyphosate were insufficient to prove the safety of Roundup.
20          61.   Defendants failed to appropriately and adequately test Roundup,
21   Roundup’s adjuvants and “inert” ingredients, and/or the surfactant POEA to protect
22   Plaintiff from Roundup.
23          62.   Rather than performing appropriate tests, Defendants relied upon flawed
24   industry-supported studies designed to protect Defendants’ economic interests rather
25   than Plaintiff and the consuming public.
26          63.   Despite their knowledge that Roundup was considerably more
27   dangerous than glyphosate alone, Defendants continued to promote Roundup as safe.
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 1                     IARC CLASSIFICATION OF GLYPHOSATE
 2          64.   The International Agency for Research on Cancer (“IARC”) is the
 3   specialized intergovernmental cancer agency the World Health Organization
 4   (“WHO”) of the United Nations tasked with conducting and coordinating research
 5   into the causes of cancer.
 6          65.   An IARC Advisory Group to Recommend Priorities for IARC
 7   Monographs during 2015–2019 met in April 2014. Though nominations for the
 8   review were solicited, a substance must meet two criteria to be eligible for review by
 9   the IARC Monographs: there must already be some evidence of carcinogenicity of
10   the substance, and there must be evidence that humans are exposed to the substance.
11          66.   IARC set glyphosate for review in 2015-2016. IARC uses five criteria
12   for determining priority in reviewing chemicals. The substance must have a potential
13   for direct impact on public health; scientific literature to support suspicion of
14   carcinogenicity; evidence of significant human exposure; high public interest and/or
15   potential to bring clarity to a controversial area and/or reduce public anxiety or
16   concern; related agents similar to one given high priority by the above considerations.
17   Data reviewed is sourced preferably from publicly accessible, peer-reviewed data.
18          67.   On March 24, 2015, after its cumulative review of human, animal, and
19   DNA studies for more than one (1) year, many of which have been in Defendants’
20   possession since as early as 1985, the IARC’s working group published its
21   conclusion that the glyphosate contained in Defendants’ Roundup herbicide, is a
22   Class 2A “probable carcinogen” as demonstrated by the mechanistic evidence of
23   carcinogenicity in humans and sufficient evidence of carcinogenicity in animals.
24          68.   The IARC’s full Monograph was published on July 29, 2015 and
25   established glyphosate as a class 2A probable carcinogen to humans. According to
26   the authors glyphosate demonstrated sufficient mechanistic evidence (genotoxicity
27   and oxidative stress) to warrant a 2A classification based on evidence of
28   carcinogenicity in humans and animals.
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 1          69.   The IARC Working Group found an increased risk between exposure to
 2   glyphosate and NHL and several subtypes of NHL, and the increased risk continued
 3   after adjustment for other pesticides.
 4          70.   The IARC also found that glyphosate caused DNA and chromosomal
 5   damage in human cells.
 6                EARLIER EVIDENCE OF GLYPHOSATE’S DANGER
 7          71.   Despite the new classification by the IARC, Defendants have had ample
 8   evidence of glyphosate and Roundup’s genotoxic properties for decades.
 9          72.   Genotoxicity refers to chemical agents that are capable of damaging the
10   DNA within a cell through genetic mutations, which is a process that is believed to
11   lead to cancer.
12          73.   In 1997, Chris Clements published “Genotoxicity of select herbicides in
13   Rana catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis
14   (comet) assay.”
15          74.   The study found that tadpoles exposed to Roundup showed significant
16   DNA damage when compared with unexposed control animals.
17          75.   Both human and animal studies have shown that glyphosate and
18   glyphosate-based formulations such as Roundup can induce oxidative stress.
19          76.   Oxidative stress and associated chronic inflammation are believed to be
20   involved in carcinogenesis.
21          77.   The IARC Monograph notes that “[s]trong evidence exists that
22   glyphosate, AMPA and glyphosate-based formulations can induce oxidative stress.”
23          78.   In 2006 César Paz-y-Miño published a study examining DNA damage in
24   human subjects exposed to glyphosate.
25          79.   The study produced evidence of chromosomal damage in blood cells
26   showing significantly greater damage after exposure to glyphosate than before in the
27   same individuals, suggesting that the glyphosate formulation used during aerial
28   spraying had a genotoxic effect on exposed individuals.
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 1           80.   The IARC Monograph reflects the volume of evidence of glyphosate
 2   pesticides’ genotoxicity noting “[t]he evidence for genotoxicity caused by
 3   glyphosate-based formulations is strong.”
 4           81.   Despite knowledge to the contrary, Defendants maintain that there is no
 5   evidence that Roundup is genotoxic, that regulatory authorities and independent
 6   experts are in agreement that Roundup is not genotoxic, and that there is no evidence
 7   that Roundup is genotoxic.
 8           82.   In addition to glyphosate and Roundup’s genotoxic properties,
 9   Defendants have long been aware of glyphosate’s carcinogenic properties.
10           83.   Glyphosate and Roundup in particular have long been associated with
11   carcinogenicity and the development of numerous forms of cancer, including, but not
12   limited to, NHL, Hodgkin’s lymphoma, multiple myeloma, and soft tissue sarcoma.
13           84.   Defendants have known of this association since the early to mid-1980s
14   and numerous human and animal studies have evidenced the carcinogenicity of
15   glyphosate and/or Roundup.
16           85.   In 1985 the EPA studied the effects of glyphosate in mice finding a dose
17   related response in male mice linked to renal tubal adenomas, a rare tumor. The study
18   concluded the glyphosate was oncogenic.
19           86.   In 2003 Lennart Hardell and Mikael Eriksson published the results of
20   two case controlled studies on pesticides as a risk factor for NHL and hairy cell
21   leukemia.
22           87.   The study concluded that glyphosate had the most significant
23   relationship to NHL among all herbicides studies with an increased odds ratio of
24   3.11.
25           88.   In 2003 AJ De Roos published a study examining the pooled data of
26   mid-western farmers, examining pesticides and herbicides as risk factors for NHL.
27           89.   The study, which controlled for potential confounders, found a
28   relationship between increased NHL incidence and glyphosate.
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 1          90.     In 2008 Mikael Eriksson published a study a population based case-
 2   control study of exposure to various pesticides as a risk factor for NHL.
 3          91.     This strengthened previous associations between glyphosate and NHL.
 4          92.     In spite of this knowledge, Defendants continued to issue broad and
 5   sweeping statements suggesting that Roundup was, and is, safer than ordinary
 6   household items such as table salt, despite a lack of scientific support for the
 7   accuracy and validity of these statements and, in fact, voluminous evidence to the
 8   contrary.
 9          93.     Upon information and belief, these statements and representations have
10   been made with the intent of inducing Decedent, the agricultural community, and the
11   public at large to purchase, and increase the use of, Defendants’ Roundup for
12   Defendants’ pecuniary gain, and in fact did induce Decedent to use Roundup.
13          94.     Defendants made these statements with complete disregard and reckless
14   indifference to the safety of Decedent and the general public.
15          95.     Notwithstanding Defendants’ representations, scientific evidence has
16   established a clear association between glyphosate and genotoxicity, inflammation,
17   and an increased risk of many cancers, including, but not limited to, NHL, multiple
18   myeloma, and soft tissue sarcoma.
19          96.     Defendants knew or should have known that glyphosate is associated
20   with an increased risk of developing cancer, including, but not limited to, NHL,
21   multiple myeloma, and soft tissue sarcomas.
22          97.     Defendants failed to appropriately and adequately inform and warn
23   Decedent of the serious and dangerous risks associated with the use of and exposure
24   to glyphosate and/or Roundup, including, but not limited to, the risk of developing
25   NHL, as well as other severe and personal injuries, which are permanent and/or long-
26   lasting in nature, cause significant physical pain and mental anguish, diminished
27   enjoyment of life, and the need for medical treatment, monitoring and/or
28   medications.
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 1          98.    Despite the IARC’s classification of glyphosate as a class 2A probable
 2   carcinogen, Defendants continue to maintain that glyphosate and/or Roundup is safe,
 3   non-carcinogenic, non-genotoxic, and falsely warrant to users and the general public
 4   that independent experts and regulatory agencies agree that there is no evidence of
 5   carcinogenicity or genotoxicity in glyphosate and Roundup.
 6          99.    Defendants have claimed and continue to claim that Roundup is safe,
 7   non-carcinogenic, and non-genotoxic.
 8          100. Monsanto claims on its website that “[r]egulatory authorities and
 9   independent experts around the world have reviewed numerous long-
10   term/carcinogenicity and genotoxicity studies and agree that there is no evidence that
11   glyphosate, the active ingredient in Roundup brand herbicides and other glyphosate-
12   based herbicides, causes cancer, even at very high doses, and that it is not
13   genotoxic.”10
14          101. Ironically, the primary source for this statement is a 1986 report by the
15   WHO, the same organization that now considers glyphosate to be a probable
16   carcinogen.
17          102. Glyphosate, and Defendants’ Roundup products in particular, have long
18   been associated with serious side effects and many regulatory agencies around the
19   globe have banned or are currently banning the use of glyphosate herbicide products.
20          103. Defendants’ statements proclaiming the safety of Roundup and
21   disregarding its dangers misled Decedent.
22          104. Despite Defendants’ knowledge that Roundup was associated with an
23   elevated risk of developing cancer, Defendants’ promotional campaigns focused on
24   Roundup’s purported “safety profile.”
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26
27
     10Backgrounder—Glyphosate: No Evidence of Carcinogenicity. Updated November
     2014 (downloaded October 9, 2015).
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 1          105. Defendants’ failure to adequately warn Decedent resulted in
 2   (1) Decedent using and being exposed to glyphosate instead of using another
 3   acceptable and safe method of controlling unwanted weeds and pests; and
 4   (2) scientists and physicians failing to warn and instruct consumers about the risk of
 5   cancer, including NHL, and other injuries associated with Roundup.
 6          106. Defendants failed to seek modification of the labeling of Roundup to
 7   include relevant information regarding the risks and dangers associated with
 8   Roundup exposure.
 9          107. The failure of Defendants to appropriately warn and inform the EPA has
10   resulted in inadequate warnings in safety information presented directly to users and
11   consumers.
12          108. The failure of Defendants to appropriately warn and inform the EPA has
13   resulted in the absence of warning or caution statements that are adequate to protect
14   health and the environment.
15          109. The failure of Defendants to appropriately warn and inform the EPA has
16   resulted in the directions for use that are not adequate to protect health and the
17   environment.
18          110. By reason of the foregoing acts and omissions, Plaintiffs seek
19   compensatory damages as a result of Decedent’s use of, and exposure to, Roundup
20   which caused or was a substantial contributing factor in causing Decedent to suffer
21   from cancer, specifically NHL, and Decedent suffered severe and personal injuries
22   which are permanent and lasting in nature, physical pain and mental anguish,
23   including diminished enjoyment of life.
24          111. By reason of the foregoing, Decedent was severely and permanently
25   injured.
26          112. By reason of the foregoing acts and omissions, Plaintiffs have endured
27   and, in some categories continue to suffer, emotional and mental anguish, medical
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 1   expenses, and other economic and non-economic damages, as a result of the actions
 2   and inactions of the Defendants.
 3                        PLAINTIFF’S EXPOSURE TO ROUNDUP
 4           113. For many years, Decedent sprayed Roundup on a regular basis.
 5   Decedent followed all safety and precautionary warnings during the course of use.
 6           114. Decedent was subsequently diagnosed with NHL and died as a result of
 7   the NHL on November 21, 2014.
 8           115. Decedent developed NHL as a result of his exposure to Defendants’
 9   Roundup product. As a result of his injury, Decedent died and Plaintiffs have
10   incurred significant economic and non-economic damages.
11        EQUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS
12           116. Plaintiffs incorporate by reference all prior paragraphs of this Complaint
13   as if fully set forth herein.
14           117. The running of any statute of limitations has been tolled by reason of
15   Defendants’ fraudulent concealment. Defendants, through their affirmative
16   misrepresentations and omissions, actively concealed from Decedent the true risks
17   associated with Roundup and glyphosate.
18           118. At all relevant times, Defendants have maintained that Roundup is safe,
19   non-toxic, and non-carcinogenic.
20           119. Indeed, even as of July 2016, Defendants continue to represent to the
21   public that “Regulatory authorities and independent experts around the world have
22   reviewed numerous long-term/carcinogenicity and genotoxicity studies and agree that
23   there is no evidence that glyphosate, the active ingredient in Roundup® brand
24   //
25   //
26   //
27   //
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 1   herbicides and other glyphosate-based herbicides, causes cancer, even at very high
 2   doses, and that it is not genotoxic.” (emphasis added)11
 3          120. As a result of Defendants’ actions, Decedent was unaware, and could
 4   not reasonably have known or have learned through reasonable diligence, that
 5   Roundup and/or glyphosate contact exposed Decedent to the risks alleged herein and
 6   that those risks were the direct and proximate result of Defendants’ acts and
 7   omissions.
 8          121. Furthermore, Defendants are estopped from relying on any statute of
 9   limitations because of their fraudulent concealment of the true character, quality and
10   nature of Roundup. Defendants were under a duty to disclose the true character,
11   quality, and nature of Roundup because this was non-public information over which
12   Defendants had and continues to have exclusive control, and because Defendants
13   knew that this information was not available to Decedent or to distributors of
14   Roundup. In addition, Defendants is estopped from relying on any statute of
15   limitations because of their intentional concealment of these facts.
16          122. Decedent had no knowledge that Defendants was engaged in the
17   wrongdoing alleged herein. Because of the fraudulent acts of concealment of
18   wrongdoing by Defendants, Decedent could not have reasonably discovered the
19   wrongdoing at any time prior. Also, the economics of this fraud should be
20   considered. Defendants had the ability to and did spend enormous amounts of money
21   in furtherance of their purpose of marketing, promoting and/or distributing a
22   profitable herbicide, notwithstanding the known or reasonably known risks. Decedent
23   and medical professionals could not have afforded and could not have possibly
24   conducted studies to determine the nature, extent, and identity of related health risks,
25   and were forced to rely on only the Defendants’ representations. Accordingly,
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27
     11Backgrounder—Glyphosate: No Evidence of Carcinogenicity. Updated November
     2014 (downloaded October 9, 2015).
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 1   Defendants are precluded by the discovery rule and/or the doctrine of fraudulent
 2   concealment from relying upon any statute of limitations.
 3                                FIRST CAUSE OF ACTION
                                      (NEGLIGENCE)
 4
 5          123. Plaintiffs repeat, reiterate, and re-allege each and every allegation of this
 6   Complaint contained in each of the foregoing paragraphs inclusive, with the same
 7   force and effect as if more fully set forth herein.
 8          124. Defendants had a duty to exercise reasonable care in the designing,
 9   researching, testing, manufacturing, marketing, supplying, promoting, packaging,
10   sale, and/or distribution of Roundup into the stream of commerce, including a duty to
11   assure that the product would not cause users to suffer unreasonable, dangerous side
12   effects.
13          125. Defendants failed to exercise ordinary care in the designing, researching,
14   testing, manufacturing, marketing, supplying, promoting, packaging, sale, testing,
15   quality assurance, quality control, and/or distribution of Roundup into interstate
16   commerce in that Defendants knew or should have known that using Roundup
17   created a high risk of unreasonable, dangerous side effects, including, but not limited
18   to, the development of NHL, as well as other severe and personal injuries which are
19   permanent and lasting in nature, physical pain and mental anguish, including
20   diminished enjoyment of life, as well as need for lifelong medical treatment,
21   monitoring, and/or medications.
22          126. The negligence by the Defendants, their agents, servants, and/or
23   employees, included but was not limited to the following acts and/or omissions:
24                a) Manufacturing, producing, promoting, formulating, creating,
25                    and/or designing Roundup without thoroughly testing it;
26                b) Failing to test Roundup and/or failing to adequately,
27                    sufficiently, and properly test Roundup;
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 1                c) Not conducting sufficient testing programs to determine
 2                   whether or not Roundup was safe for use; in that Defendants
 3                   herein knew or should have known that Roundup was unsafe
 4                   and unfit for use by reason of the dangers to its users;
 5                d) Not conducting sufficient testing programs and studies to
 6                   determine Roundup’s carcinogenic properties even after
 7                   Defendants had knowledge that Roundup is, was, or could
 8                   be carcinogenic;
 9                e) Failing to conduct sufficient testing programs to determine
10                   the safety of “inert” ingredients and/or adjuvants contained
11                   within Roundup, and the propensity of these ingredients to
12                   render Roundup toxic, increase the toxicity of Roundup,
13                   whether these ingredients are carcinogenic, magnify the
14                   carcinogenic properties of Roundup, and whether or not
15                   “inert” ingredients and/or adjuvants were safe for use;
16                f) Negligently failing to adequately and correctly warn the
17                   Plaintiff, the public, the medical and agricultural
18                   professions, and the EPA of the dangers of Roundup;
19                g) Negligently failing to petition the EPA to strength the
20                   warnings associated with Roundup;
21                h) Failing to provide adequate cautions and warnings to protect
22                   the health of users, handlers, applicators, and persons who
23                   would reasonably and foreseeably come into contact with
24                   Roundup;
25                i) Negligently marketing, advertising, and recommending the
26                   use of Roundup without sufficient knowledge as to its
27                   dangerous propensities;
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 1                j) Negligently representing that Roundup was safe for use for
 2                    its intended purpose, and/or that Roundup was safer than
 3                    ordinary and common items such as table salt, when, in fact,
 4                    it was unsafe;
 5                k) Negligently representing that Roundup had equivalent safety
 6                    and efficacy as other forms of herbicides;
 7                l) Negligently designing Roundup in a manner, which was
 8                    dangerous to its users;
 9                m) Negligently manufacturing Roundup in a manner, which
10                    was dangerous to its users;
11                n) Negligently producing Roundup in a manner, which was
12                    dangerous to its users;
13                o) Negligently formulating Roundup in a manner, which was
14                    dangerous to its users;
15                p) Concealing information from the Plaintiff while knowing
16                    that Roundup was unsafe, dangerous, and/or non-
17                    conforming with EPA regulations;
18                q) Improperly concealing and/or misrepresenting information
19                    from the Plaintiff, scientific and medical professionals,
20                    and/or the EPA, concerning the severity of risks and dangers
21                    of Roundup compared to other forms of herbicides; and
22                r) Negligently selling Roundup with a false and misleading
23                    label.
24          127. Defendants under-reported, underestimated, and downplayed the serious
25   dangers of Roundup.
26          128. Defendants negligently and deceptively compared the safety risks and/or
27   dangers of Roundup with common everyday foods such as table salt, and other forms
28   of herbicides.
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 1           129. Defendants were negligent and/or violated California law in the
 2   designing, researching, supplying, manufacturing, promoting, packaging,
 3   distributing, testing, advertising, warning, marketing, and selling of Roundup in that
 4   they:
 5                 a) Failed to use ordinary care in designing and manufacturing
 6                    Roundup so as to avoid the aforementioned risks to
 7                    individuals when Roundup was used as an herbicide;
 8                 b) Failed to accompany their product with proper and/or
 9                    accurate warnings regarding all possible adverse side effects
10                    associated with the use of Roundup;
11                 c) Failed to accompany their product with proper warnings
12                    regarding all possible adverse side effects concerning the
13                    failure and/or malfunction of Roundup;
14                 d) Failed to accompany their product with accurate warnings
15                    regarding the risks of all possible adverse side effects
16                    concerning Roundup;
17                 e) Failed to warn Decedent of the severity and duration of such
18                    adverse effects, as the warnings given did not accurately
19                    reflect the symptoms, or severity of the side effects
20                    including, but not limited to, the development of NHL;
21                 f) Failed to conduct adequate testing, clinical testing and post-
22                    marketing surveillance to determine the safety of Roundup;
23                 g) Failed to conduct adequate testing, clinical testing, and post-
24                    marketing surveillance to determine the safety of Roundup’s
25                    “inert” ingredients and/or adjuvants;
26                 h) Negligently misrepresented the evidence of Roundup’s
27                    genotoxicity and carcinogenicity; and
28                 i) Were otherwise careless and/or negligent.
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 1          130. Despite the fact that Defendants knew or should have known that
 2   Roundup caused, or could cause, unreasonably dangerous side effects, Defendants
 3   continued and continue to market, manufacture, distribute, and/or sell Roundup to
 4   consumers, including the Decedent.
 5          131. Defendants knew or should have known that consumers such as the
 6   Decedent would foreseeably suffer injury as a result of Defendants’ failure to
 7   exercise ordinary care, as set forth above.
 8          132. Defendants’ violations of law and/or negligence were the proximate
 9   cause of Plaintiffs’ injuries, harm and economic loss, which Plaintiffs suffered and/or
10   will continue to suffer.
11          133. As a result of the foregoing acts and omissions, the Decedent suffered
12   from serious and dangerous side effects including, but not limited to, NHL, as well as
13   other severe and personal injuries which are permanent and lasting in nature, physical
14   pain and mental anguish, diminished enjoyment of life, and financial expenses for
15   hospitalization and medical care. Further, Decedent suffered life-threatening NHL,
16   and severe personal injuries, which are permanent and lasting in nature, physical pain
17   and mental anguish, including diminished enjoyment of life.
18          134. WHEREFORE, Plaintiffs respectfully request that this Court enter
19   judgment in Plaintiffs’ favor for compensatory and punitive damages, together with
20   interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just
21   and proper.
                             SECOND CAUSE OF ACTION
22                 (STRICT PRODUCTS LIABILITY—DESIGN DEFECT)
23          135. Plaintiffs repeat, reiterate and, re-allege each and every allegation of this
24   Complaint contained in each of the foregoing paragraphs inclusive, with the same
25   force and effect as if more fully set forth herein.
26          136. At all times herein mentioned, the Defendants designed, researched,
27   manufactured, tested, advertised, promoted, sold, distributed, and/or had acquired the
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 1   entity who has designed, researched, tested, advertised, promoted, marketed, sold,
 2   and distributed Roundup as hereinabove described that was used by the Plaintiff.
 3           137. Defendants’ Roundup was expected to and did reach the usual
 4   consumers, handlers, and persons coming into contact with said product without
 5   substantial change in the condition in which it was produced, manufactured, sold,
 6   distributed, and marketed by the Defendants.
 7           138. At those times, Roundup was in an unsafe, defective, and inherently
 8   dangerous condition, which was dangerous to users, and in particular, the Decedent
 9   herein.
10           139. The Roundup designed, researched, manufactured, tested, advertised,
11   promoted, marketed, sold, and distributed by Defendants were defective in design or
12   formulation in that, when it left the hands of the manufacturer and/or suppliers, the
13   foreseeable risks exceeded the benefits associated with the design or formulation of
14   Roundup.
15           140. The Roundup designed, researched, manufactured, tested, advertised,
16   promoted, marketed, sold, and distributed by Defendants were defective in design
17   and/or formulation, in that, when it left the hands of the Defendants’ manufacturer
18   and/or supplier, it was unreasonably dangerous, unreasonably dangerous in normal
19   use, and it was more dangerous than an ordinary consumer would expect.
20           141. At all times herein mentioned, Roundup was in a defective condition
21   and unsafe, and Defendants knew or had reason to know that said product was
22   defective and unsafe, especially when used in the form and manner as provided by
23   the Defendants. In particular, Defendants’ Roundup was defective in the following
24   ways:
25                 a) When placed in the stream of commerce, Defendants’
26                    Roundup Products were defective in design and formulation
27                    and, consequently, dangerous to an extent beyond that which
28                    an ordinary consumer would anticipate.
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 1                b) When placed in the stream of commerce, Defendants’
 2                   Roundup products were unreasonably dangerous in that they
 3                   were hazardous and posed a grave risk of cancer and other
 4                   serious illnesses when used in a reasonably anticipated
 5                   manner.
 6                c) When placed in the stream of commerce, Defendants’
 7                   Roundup products contained unreasonably dangerous design
 8                   defects and were not reasonably safe when used in a
 9                   reasonably anticipated manner.
10                d) Defendants did not sufficiently test, investigate, or study its
11                   Roundup products.
12                e) Exposure to Roundup presents a risk of harmful side effects
13                   that outweigh any potential utility stemming from the use of
14                   the herbicide.
15                f) Defendants knew or should have known at the time of
16                   marketing its Roundup products that exposure to Roundup
17                   and could result in cancer and other severe illnesses and
18                   injuries.
19                g) Defendants did not conduct adequate post-marketing
20                   surveillance of its Roundup products.
21          142. Defendants knew, or should have known that at all times herein
22   mentioned its Roundup was in a defective condition, and was and is inherently
23   dangerous and unsafe.
24          143. Decedent was exposed to Defendants’ Roundup, as described above,
25   without knowledge of Roundup’s dangerous characteristics.
26          144. At the time of the Decedent’s use of and exposure to Roundup, Roundup
27   was being used for the purposes and in a manner normally intended, as a broad-
28   spectrum herbicide.
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 1          145. Defendants with this knowledge voluntarily designed its Roundup with a
 2   dangerous condition for use by the public, and in particular the Decedent.
 3          146. Defendants had a duty to create a product that was not unreasonably
 4   dangerous for its normal, intended use.
 5          147. Defendants created a product that was and is unreasonably dangerous
 6   for its normal, intended use.
 7          148. Defendants marketed and promoted a product in such a manner so as to
 8   make it inherently defective as the product downplayed its suspected, probable, and
 9   established health risks inherent with its normal, intended use.
10          149. The Roundup designed, researched, manufactured, tested, advertised,
11   promoted, marketed, sold, and distributed by Defendants was manufactured
12   defectively in that Roundup left the hands of Defendants in a defective condition and
13   was unreasonably dangerous to its intended users.
14          150. The Roundup designed, researched, manufactured, tested, advertised,
15   promoted, marketed, sold, and distributed by Defendants reached their intended users
16   in the same defective and unreasonably dangerous condition in which the
17   Defendants’ Roundup was manufactured.
18          151. Defendants designed, researched, manufactured, tested, advertised,
19   promoted, marketed, sold, and distributed a defective product, which created an
20   unreasonable risk to the health of consumers and to the Decedent in particular, and
21   Defendants are therefore strictly liable for the injuries sustained by the Decedent.
22          152. The Decedent could not, by the exercise of reasonable care, have
23   discovered Roundup’s defects herein mentioned or perceived its danger.
24          153. By reason of the foregoing, the Defendants have become strictly liable
25   to the Plaintiffs for the manufacturing, marketing, promoting, distribution, and selling
26   of a defective product, Roundup.
27          154. Defendants’ defective design, of Roundup amounts to willful, wanton,
28   and/or reckless conduct by Defendants.
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 1          155. Defects in Defendants’ Roundup were the cause or a substantial factor in
 2   causing Plaintiff’s injuries.
 3          156. As a result of the foregoing acts and omission, the Decedent developed
 4   NHL, and suffered severe and personal injuries, which are permanent and lasting in
 5   nature, physical pain and mental anguish, including diminished enjoyment of life,
 6   and financial expenses for hospitalization and medical care.
 7          157. WHEREFORE, Plaintiffs respectfully request that this Court enter
 8   judgment in Plaintiffs’ favor for compensatory and punitive damages, together with
 9   interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just
10   and proper.
                          THIRD CAUSE OF ACTION
11             (STRICT PRODUCTS LIABILITY—FAILURE TO WARN)
12          158. Plaintiffs repeat, reiterate and re-allege each and every allegation of this
13   Complaint contained in each of the foregoing paragraphs inclusive, with the same
14   force and effect as if more fully set forth herein.
15          159. Defendants have engaged in the business of selling, testing, distributing,
16   supplying, manufacturing, marketing, and/or promoting Roundup, and through that
17   conduct has knowingly and intentionally placed Roundup into the stream of
18   commerce with full knowledge that it reaches consumers such as Decedent who are
19   exposed to it through ordinary and reasonably foreseeable uses.
20          160. Defendants did in fact sell, distribute, supply, manufacture, and/or
21   promote Roundup to Plaintiff. Additionally, Defendants expected the Roundup that
22   they were selling, distributing, supplying, manufacturing, and/or promoting to
23   reach—and Roundup did in fact reach—consumers, including Decedent, without any
24   substantial change in the condition of the product from when it was initially
25   distributed by Defendants.
26          161. At the time of manufacture, Defendants could have provided the
27   warnings or instructions regarding the full and complete risks of Roundup and
28   glyphosate-containing products because it knew or should have known of the
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 1   unreasonable risks of harm associated with the use of and/or exposure to such
 2   products.
 3          162. At all times herein mentioned, the aforesaid product was defective and
 4   unsafe in manufacture such that it was unreasonably dangerous to the user, and was
 5   so at the time it was distributed by Defendants and at the time Decedent was exposed
 6   to and/or ingested the product. The defective condition of Roundup was due in part to
 7   the fact that it was not accompanied by proper warnings regarding its carcinogenic
 8   qualities and possible side effects, including, but not limited to, developing NHL as a
 9   result of exposure and use.
10          163. Roundup did not contain a warning or caution statement, which was
11   necessary and, if complied with, was adequate to protect health those exposed in
12   violation of 7 U.S.C. § 136j(a)(1)(E).
13          164. Defendants’ failure to include a warning or caution statement which was
14   necessary and, if complied with, was adequate to protect the health of those exposed,
15   violated 7 U.S.C. § 136j(a)(1)(E) as well as the laws of the State of California.
16          165. Defendants could have amended the label of Roundup to provide
17   additional warnings.
18          166. This defect caused serious injury to Decedent, who used Roundup in its
19   intended and foreseeable manner.
20          167. At all times herein mentioned, Defendants had a duty to properly design,
21   manufacture, compound, test, inspect, package, label, distribute, market, examine,
22   maintain supply, provide proper warnings, and take such steps to assure that the
23   product did not cause users to suffer from unreasonable and dangerous side effects.
24          168. Defendants labeled, distributed, and promoted the aforesaid product that
25   it was dangerous and unsafe for the use and purpose for which it was intended.
26          169. Defendants failed to warn of the nature and scope of the side effects
27   associated with Roundup, namely its carcinogenic properties and its propensity to
28   cause or serve as a substantial contributing factor in the development of NHL.
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 1          170. Defendants were aware of the probable consequences of the aforesaid
 2   conduct. Despite the fact that Defendants knew or should have known that Roundup
 3   caused serious injuries, Defendants failed to exercise reasonable care to warn of the
 4   dangerous carcinogenic properties and side effect of developing NHL from Roundup
 5   exposure, even though these side effects were known or reasonably scientifically
 6   knowable at the time of distribution. Defendants willfully and deliberately failed to
 7   avoid the consequences associated with their failure to warn, and in doing so,
 8   Defendants acted with a conscious disregard for the safety of Decedent.
 9          171. At the time of exposure, Decedent could not have reasonably discovered
10   any defect in Roundup prior through the exercise of reasonable care.
11          172. Defendants, as the manufacturer and/or distributor of the subject
12   product, is held to the level of knowledge of an expert in the field.
13          173. Decedent reasonably relied upon the skill, superior knowledge, and
14   judgment of Defendants.
15          174. Had Defendants properly disclosed the risks associated with Roundup,
16   Decedent would have avoided the risk of NHL by not using Roundup.
17          175. The information that Defendants did provide or communicate failed to
18   contain adequate warnings and precautions that would have enabled Decedent, and
19   similarly situated individuals, to utilize the product safely and with adequate
20   protection. Instead, Defendants disseminated information that was inaccurate, false,
21   and misleading and which failed to communicate accurately or adequately the
22   comparative severity, duration, and extent of the risk of injuries associated with use
23   of and/or exposure to Roundup and glyphosate; continued to promote the efficacy of
24   Roundup, even after it knew or should have known of the unreasonable risks from
25   use or exposure; and concealed, downplayed, or otherwise suppressed, through
26   aggressive marketing and promotion, any information or research about the risks and
27   dangers of exposure to Roundup and glyphosate.
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 1          176. To this day, Defendants have failed to adequately warn of the true risks
 2   of Decedent’s injuries associated with the use of and exposure to Roundup.
 3          177. As a result of their inadequate warnings, Defendants’ Roundup products
 4   were defective and unreasonably dangerous when they left the possession and/or
 5   control of Defendants, were distributed by Defendants, and used by Decedent.
 6          178. As a direct and proximate result of Defendants’ actions as alleged
 7   herein, and in such other ways to be later shown, the subject product caused
 8   Decedent to sustain injuries as herein alleged.
 9          179. WHEREFORE, Plaintiffs respectfully request that this Court enter
10   judgment in Plaintiffs’ favor for compensatory and punitive damages, together with
11   interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just
12   and proper.
                              FOURTH CAUSE OF ACTION
13                        (BREACH OF IMPLIED WARRANTIES)
14          180. Plaintiffs repeat, reiterate, and re-allege each and every allegation of this
15   Complaint contained in each of the foregoing paragraphs inclusive, with the same
16   force and effect all if more fully set forth herein.
17          181. At all times herein mentioned, the Defendants manufactured, distributed,
18   compounded, recommended, merchandized, advertised, promoted, and sold Roundup
19   and/or have recently acquired the entity who manufactured, compound portrayed,
20   distributed, recommended, merchandized, advertised, promoted, and sold Roundup,
21   as a broad spectrum herbicide. These actions were under the ultimate control and
22   supervision of Defendants.
23          182. At the time Defendants marketed, sold, and distributed Roundup for use
24   by Decedent, Defendants knew of Roundup’s intended use and impliedly warranted
25   the product to be or merchantable quality and safe and fit for this use.
26          183. The Defendants impliedly represented and warranted to Decedent and
27   users of Roundup, the agricultural community, and/or the EPA that Roundup was
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 1   safe and of merchantable quality and fit for the ordinary purpose for which it was to
 2   be used.
 3          184. These representations and warranties were false, misleading, and
 4   inaccurate in that Roundup was unsafe, unreasonably dangerous, not of merchantable
 5   quality, and defective.
 6          185. Decedent and/or the EPA did rely on said implied warranty of
 7   merchantability of fitness for particular use and purpose.
 8          186. Decedent reasonably relied upon the skill and judgment of Defendants
 9   as to whether Roundup was of merchantable quality and safe and fit for its intended
10   use.
11          187. Roundup was injected into the stream of commerce by the Defendants in
12   a defective, unsafe, and inherently dangerous condition, and the products’ materials
13   were expected to and did reach users, handlers, and persons coming into contact with
14   said products without substantial change in the condition in which they were sold.
15          188. The Defendants breached the aforesaid implied warranties, as their
16   herbicide Roundup was not fit for its intended purposes and uses.
17          189. As a result of the foregoing acts and omissions, Decedent suffered from
18   NHL and Decedent suffered severe and personal injuries which are permanent and
19   lasting in nature, physical pain and mental anguish, including diminished enjoyment
20   of life, financial expenses for hospitalization and medical care, including medical
21   expenses and other economic, and non-economic damages.
22          190. WHEREFORE, Plaintiffs respectfully request that this Court enter
23   judgment in Plaintiffs’ favor for compensatory and punitive damages, together with
24   interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just
25   and proper.
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                                  FIFTH CAUSE OF ACTION
 1                                  (WRONGFUL DEATH)
 2          191. Plaintiffs repeat, reiterate, and re-allege each and every allegation of this
 3   Complaint contained in each of the foregoing paragraphs inclusive, with the same
 4   force and effect all if more fully set forth herein.
 5          192. The Decedent’s surviving spouse, Plaintiff Karen Wooten, and the
 6   Decedent’s children, Plaintiffs Harley Wooten III and Timothy Wooten, are the
 7   Decedent’s only heirs and bring herein this wrongful death claim.
 8          193. Decedent died as a direct and proximate result of Defendants’ negligent
 9   and wrongful conduct in connection with the design, development, manufacture,
10   testing, packaging, promoting, marketing, advertising, distribution, labeling, and/or
11   sale of the herbicide Roundup, containing the active ingredient glyphosate.
12          194. Defendants’ wrongful conduct has proximately caused Decedent’s heirs
13   to suffer the loss of Decedent’s companionship, services, society, marital association,
14   love and consortium.
15          195. WHEREFORE, Plaintiffs Karen Wooten, Harley Wooten III, and
16   Timothy Wooten respectfully request that this Court enter judgment in Plaintiffs’
17   favor for compensatory and punitive damages, together with interest, costs herein
18   incurred, attorneys’ fees and all relief as this Court deems just and proper.
19                                   PRAYER FOR RELIEF
20          WHEREFORE, Plaintiffs demand judgment against the Defendants on each of
21   the above-referenced claims and causes of action and as follows:
22          1.    Awarding compensatory damages in excess of the jurisdictional amount,
23   including, but not limited to pain, suffering, emotional distress, loss of enjoyment of
24   life, and other non-economic damages in an amount to be determined at trial of this
25   action;
26          2.    Awarding compensatory damages to Plaintiffs for past and future
27   damages, including, but not limited to, Plaintiffs’ pain and suffering and for severe
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 1   and permanent personal injuries sustained by the Plaintiffs including health care costs
 2   and economic loss;
 3          3.    Awarding economic damages in the form of medical expenses, out of
 4   pocket expenses, lost earnings and other economic damages in an amount to be
 5   determine at trial of this action;
 6          4.    Punitive and/or exemplary damages for the wanton, willful, fraudulent,
 7   and reckless acts of the Defendants who demonstrated a complete disregard and
 8   reckless indifference for the safety and welfare of the general public and to the
 9   Plaintiffs in an amount sufficient to punish Defendants and deter future similar
10   conduct, to the extent allowed by applicable law;
11          5.    Pre-judgment interest;
12          6.    Post-judgment interest;
13          7.    Awarding Plaintiffs reasonable attorneys’ fees;
14          8.    Awarding Plaintiffs the costs of these proceedings; and
15          9.    Such other and further relief as this Court deems just and proper.
16                               DEMAND FOR JURY TRIAL
17          Plaintiffs hereby demands trial by jury as to all issues.
18
19   Dated: March, 14. 2017                       ANDRUS ANDERSON LLP
20
                                                  By:       /s/ Lori E. Andrus
21                                                         Lori E. Andrus
22
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